                Case 22-11068-JTD              Doc 1358        Filed 04/26/23         Page 1 of 3




                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________________ x
                                             :      Chapter 11
In re                                        :
                                             :      Case No. 22-11068 (JTD)
FTX TRADING LTD., et al., 1                  :
                                             :       (Jointly Administered)
                             Debtors.        :
                                             : Obj. Deadline: May 10, 2023 at 4:00 p.m. (ET)
____________________________________________ x

             NOTICE OF FILING OF MONTHLY STAFFING REPORT AND
          COMPENSATION REPORT BY RLKS EXECUTIVE SOLUTIONS LLC
            FOR THE PERIOD MARCH 1, 2023 THROUGH MARCH 31, 2023

                 PLEASE TAKE NOTICE that on January 9, 2023, the Court entered the Order

Granting Debtors’ Motion for an Order Authorizing and Approving (I) the Retention and

Employment of RLKS Executive Solutions LLC and (II) Designating the Chief Officers as

Officers of the Debtors Nunc Pro Tunc to November 15, 2022 [D.I. 437] (the “Retention

Order”), 2 approving, among other things, the retention and employment of RLKS Executive

Solutions LLC (“RLKS”).

                 PLEASE TAKE FURTHER NOTICE that, in accordance with paragraphs 2(d)

and 2(e) of the Retention Order, attached hereto as Exhibit A is RLKS’s staffing and

compensation report (the “Report”) for the period of March 1, 2023 through March 31, 2023 (the

“Reporting Period”). The Report includes (i) the names and functions engaged by the RLKS’s

professionals who provided services to the Debtors during the Reporting Period and (ii) a


1
    The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
    debtor entities in these Chapter 11 Cases, for which the Debtors will request joint administration, a complete list
    of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information will be made available on a website of the Debtors’ proposed claims and
    noticing agent.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
    Retention Motion.
             Case 22-11068-JTD         Doc 1358      Filed 04/26/23    Page 2 of 3




summary of the services provided, the compensation earned and itemized expenses incurred by

RLKS during the Reporting Period.

               PLEASE TAKE FURTHER NOTICE that any responses or objections (the

“Objections”) to the Report shall be in writing, shall conform to the Federal Rules of Bankruptcy

Procedure and the Local Bankruptcy Rules for the District of Delaware and shall be filed with

the Court in accordance with the customary practices of the Court. Objections must be filed and

served on counsel to the Debtors, Sullivan & Cromwell LLP, 125 Broad Street, New York, New

York 10004 (Alexa J. Kranzley; kranzleya@sullcrom.com) and Landis Rath & Cobb LLP, 919

Market Street, Wilmington, Delaware 19801 (Kimberly A. Brown; brown@lrclaw.com), so as to

be received no later than 4:00 p.m. ET on May 10, 2023 (the “Objection Deadline”).

               PLEASE TAKE FURTHER NOTICE that in accordance with the Retention

Order, if no Objection to the Report is filed and served by the Objection Deadline, the Debtors

may promptly pay all requested compensation and expenses.




                                               -2-
            Case 22-11068-JTD   Doc 1358    Filed 04/26/23   Page 3 of 3




Dated: April 26, 2023              LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                   /s/ Matthew R. Pierce
                                   Adam G. Landis (No. 3407)
                                   Kimberly A. Brown (No. 5138)
                                   Matthew R. Pierce (No. 5946)
                                   919 Market Street, Suite 1800
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 467-4400
                                   Facsimile: (302) 467-4450
                                   E-mail: landis@lrclaw.com
                                           brown@lrclaw.com
                                           pierce@lrclaw.com

                                   -and-

                                   SULLIVAN & CROMWELL LLP
                                   Andrew G. Dietderich (admitted pro hac vice)
                                   James L. Bromley (admitted pro hac vice)
                                   Brian D. Glueckstein (admitted pro hac vice)
                                   Alexa J. Kranzley (admitted pro hac vice)
                                   125 Broad Street
                                   New York, NY 10004
                                   Telephone: (212) 558-4000
                                   Facsimile: (212) 558-3588
                                   E-mail: dietdericha@sullcrom.com
                                           bromleyj@sullcrom.com
                                           gluecksteinb@sullcrom.com
                                           kranzleya@sullcrom.com


                                   Counsel for the Debtors and Debtors-in-Possession




                                      -3-
